      Case 1:06-cr-00071-SM   Document 230   Filed 02/04/08   Page 1 of 1



                     UNITED STATES DISTRICT COURT

                       DISTRICT OF NEW HAMPSHIRE


United States of America

      v.                                Criminal No. 06-cr-071-02-SM

Edward L. Brown


                                 O R D E R


      Defendant, Edward L. Brown, has filed a “motion for notice

to appeal.”    The motion is construed as one seeking to enlarge

the time in which to appeal.       This court is without jurisdiction

to grant that relief as the motion is filed well beyond forty

(40) days after the entry of judgment in the criminal case.                 See

Fed. R. App. P. 4(b)(4); United States v. Rapoport, 159 F.3d 1

(1st Cir. 1998).     Defendant already filed a direct appeal in this

case, which appeal was dismissed by the United States Court of

Appeals for the First Circuit due to defendant’s failure to

prosecute it.

      The motion (document no. 229) is denied.

      SO ORDERED.

                                   ____________________________
                                   Steven J. McAuliffe
                                   Chief Judge

February 4, 2008

cc:   William E. Morse, Esq.
      Edward L. Brown, pro se
      U.S. Probation
      U.S. Marshal
